                                             EXHIBIT I
          Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 1 of 10




                                                           Who are
                                                         Seventh-day
                                                         Adventists?




MANY STRENGTHS. ONE MISSION.
A Seventh-day Adventist Organization | LLUHEALTH.ORG
                                             EXHIBIT I
                                                                      I-1
                                         EXHIBIT I
     Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 2 of 10




                                                  Mission
                                                     “To continue the teaching and
                                                     healing ministry of Jesus Christ.”

Loma Linda University Health is a unique
place where a campus and a medical center
                                                  Seventh-day Adventists
come together in service to the world. We are     The Seventh-day Adventist Church is one
                                                  of many Christian communities of faith. We
rooted deeply in the history and beliefs of the
                                                  treasure the knowledge that we are loved and
Seventh-day Adventist Church, gaining from        accepted by the Creator God. Our name comes
that relationship a special understanding of      from the biblical observance of the seventh-day
what it means “to make man whole.” Through        Sabbath and a belief in the second coming or
this brochure we want to share with you the       “advent” of Jesus to this world. Adventists attend
unique beliefs that guide us each day as we       church on Saturday—joining together for
seek “to continue the teaching and healing        worship, fellowship and Bible study. The Bible is
                                                  the source of our Christian beliefs.
ministry of Jesus Christ.”
                                                  The church is a safe place for healing and
                                                  growth. The Adventist Church welcomes
Sincerely,                                        all people to its worship services. Formal
                                                  membership includes being baptized by
                                                  immersion, which symbolizes our union with
                                                  God, the forgiveness of sins and our desire to
                                                  enter into a new life. The most important goal
Richard H. Hart                                   of the Adventist church is to exemplify the love
President, Loma Linda University Health           of God and to proclaim hope for people in a
                                                  troubled world. Church membership is our way
                                                  of declaring that we need God and each other
                                                  for life to be meaningful. (Ezekiel 36:26; 1 John
                                                  4:7; 1 Corinthians 12:14-26)




                                         EXHIBIT I
                                                                                      I-2
                        EXHIBITPerfect
                                I
Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 3 of 10
                                       Beginnings
                                    Adventists believe in the biblical account of
                                    creation. God made everything — the heavens,
                                    the earth, the sea and every living thing. His
                                    creation was glorious and perfect in every
                                    detail. The Bible says, “God saw all that He
                                    had made, and it was very good.” (Genesis 1:31
                                    NIV) His crowning work was the creation of
                                    man and woman — formed in His own image.
                                    Adam and Eve
                                    spoke with their
                                    Creator face-to-
                                    face. God did not
                                    force His children’s
                                    love and obedience,
                                    but gave them the
                                    freedom to obey
                                    or disobey Him.
                                    (Genesis 1:1; Genesis
                                    1:26; Psalm 33:6-9;
                                    Joshua 24:15)

                                    Trouble Begins
                                    Sadly, Adam and Eve chose to disobey God
                                    and experienced the effects of sin. Their sin
                                    distanced them from their loving Creator. The
                                    trust relationship was damaged, and they could
                                    no longer communicate with Him face-to-face.
                                    The earth, once a place of life, joy, peace and
                                    love, now also became a place of death, disease,
                                    suffering, sorrow, hatred and misery. This was
                                    the beginning of human distress.
                                    (Genesis 3:8-11, 17-19)

                                    The Rest of the Story
                                    But thankfully, this is not the end of the story!
                                    There is good news, really good news. Even before
                                    Adam and Eve made their fatal choice, God had
                                    prepared the plan of salvation — a plan to bring
                                    back perfect harmony between God and the
                        EXHIBIT I                                      I-3
     people He created and loves.
                                    EXHIBIT I
Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 4 of 10
                                        on our behalf. Because of His great love for us,
     Jesus came to earth and died in    He died on a cross, was resurrected and went to
     order to restore the perfect world heaven, where He is now with the Father. Yet
     that had been marred by sin.       He is with us through His Holy Spirit — our
     (1 Peter 1:18-20; Ephesians 1:3-4; Comforter — every day, every minute. (John
     Matthew 25:34)                     1:14; Ephesians 2:8; Hebrews 4:14-15; John 14:16)

       The Gift of                            The Recipe for Joy
       a New Life                             In His Ten Commandments, God explains
       The death of Jesus teaches us          how we can have a loving relationship with
       that sin is best understood,           Him and with each other. The commandments
       not simply as breaking the             are a trustworthy guide for living an abundant
       law, but rather as breaking            life. The first four commandments guide us in
       the loving heart of God. The           our relationship with God, while the remaining
       death of Jesus on our behalf           six remind us to treat our fellow human beings
       teaches us that God’s love is          with love and respect.
       so great He will do whatever           Obedience to these commandments requires
       it takes to restore our eternal        choices. When we love someone, we naturally
       friendship with Him. God               choose to express our affection and appreciation.
       gave us the ultimate gift of His       That’s how it is when we love God. Living the
       Son, and He continues to give          Christian life arises from gratitude to God and a
       us abundant life daily as part         desire to honor Him. And when we fall short of
       of that gift of grace. (John 3:16;     His plan for us, God reminds us that He offers
       Romans 3:23-24;                        forgiveness as a gift of grace through Jesus.
       2 Corinthians 5:17)
                                              In addition to the Ten Commandments, we
       The Gift Giver:                        learn how to live from Jesus’ teachings and
       Perfect God,                           example. He teaches us to love God, to love
       Perfect Man
       Salvation and new life are gifts
       from Jesus, who is God in
       human form — divinity and
       humanity perfectly united.
       Because He is God, He has
       the power and authority to
       forgive and save us. Because
       He is human, he experiences
       our joys and sorrows.
       Although born into a sinful
       world, He lived a perfect life
                                    EXHIBIT I                                    I-4
                             EXHIBIT I
Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 5 of 10
                                   each other and to love ourselves. He eagerly
                                   gives us the gift of His love to make such love
                                   possible. (Exodus 20:3-17; Deuteronomy 10:13;
                                   John 13:34-35; John 14:15; 1 John 3:16)

                                           God Listens When We Pray
                                           Through prayer we open our hearts to God as
                                           if talking with a friend. If we can talk, we can
                                           pray. Indeed, if we can think, we can pray. No
                                           topic is too great
                                           or too small. Jesus
                                           taught His disciples
                                           to praise God in
                                           their prayers, to ask
                                           for daily bread and
                                           to share the burdens
                                           on their hearts.
                                           While God already knows what we need,
                                           prayer provides the way for us to receive the
                                           good things He wants to give us.
                                           But sometimes we don’t feel as if we receive
                                           what we ask for, and that can be very difficult.
                                           We don’t always understand why our prayers
                                           are not answered as we wish, but through faith
                                           we can be absolutely sure that God still loves us,
                                           has our best interests in mind and is with us, no
                                           matter what happens.
                                                                           Too often our
                                                                           conversations
                                                                           with God are
                                                                           one-sided. It is
                                                                           important that
                                                                           we not only talk
                                                                           to God, but
                                                                           that we listen
                                                                           to Him as well.
                                                                           If we’re willing
                                                                           to listen, we can
                                                                           hear God’s voice
                                                                           through Bible
                             EXHIBIT I                                         I-5
                             EXHIBIT I
Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 6 of 10
                                   study, through the still small voice of His Holy
                                   Spirit, through His created wonders in nature
                                   and through our deepest human relationships.
                                   (Psalm 55:22; Romans 12:12; Jeremiah 29:11-12;
                                   Psalm 119:10-11)

                                           Guarding Our Good Health
                                           God desires that each of us reach our full
                                           potential. Seventh-day Adventists believe
                                           that a wholesome lifestyle contributes to good
                                           physical, mental and spiritual health.
                                           Why are Adventists so passionate about good
                                           health? The Bible says, “Don’t you know that
                                           you yourselves are God’s temple and that God’s
                                           Spirit lives in you? … For God’s temple is
                                           sacred, and you are that temple.” (1 Corinthians
                                           3:16-17 NIV) Enjoying a healthful diet,
                                           refraining from harmful substances, and getting
                                           adequate exercise, water and rest are very
                                           important ways to care for our body-temples.
                                           (1 Corinthians 10:31; 3 John 2)

                                           Rest From Stress, Fear and Anxiety
                                           The Bible tells us that after God created the
                                           world in six days, He rested on the seventh
                                           day. He sanctified the Sabbath — set it apart
                                           as a holy day. Later, when He gave the Ten
                                           Commandments to Moses, God explained the
                                           Sabbath in more detail (Exodus 20:8-11). The
                                           Sabbath is a day to remind us that God is the
                                           Creator and worthy of our worship.
                                           The Sabbath is not an ordinary day for
                                           ordinary activities. The Sabbath is a day to
                                           put aside work, secular pursuits and self-
                                           interests — a day to shut out the clamor
                                           and pressures of everyday life to receive the
                                           needed gifts of peace and rest. The Sabbath
                                           is a special day to worship the creator and
                                           commune with Him.
                             EXHIBIT I
                                                                              I-6
                             EXHIBIT I
Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 7 of 10
                                   Celebrated from sunset Friday to sunset
                                   Saturday, the Sabbath is a spiritual experience
                                   as well as a time of physical rest. During His
                                   earthly ministry, Jesus made it clear that the
                                   Sabbath was made for our benefit. It was not to
                                   be a burden or encumbered with unreasonable
                                   man-made rules. Jesus celebrated the Sabbath
                                   by attending the synagogue, healing the sick
                                   and spending time with those He loved.
                                          Following Jesus’ example of healing, Adventist
                                          hospitals continue to meet the needs of their
                                          patients during the Sabbath hours. All essential
                                          medical care and services are provided every
                                          day. (Genesis 2:1-3; Exodus 20:8-11; Mark 2:27;
                                          John 5:1-16)

                                          Happily Ever After …
                                          Adventists believe that Jesus will return to this
                                          earth to take us home with Him forever. “I am
                                          going there to prepare a place for you,” Jesus
                                          said. “When everything is ready, I will come
                                          and get you, so that you will always be with me
                                          where I am.” (John 14:2,3 NLT) On that happy
                                          day, the entire universe will know beyond a




                             EXHIBIT I                                       I-7
                        EXHIBIT I
Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 8 of 10




                                    doubt that God is indeed a God of forgiveness
                                    and love, and that His ways are best.
                                    The Bible says Jesus will come in glory to
                                    deliver His people and to restore all things.
                                    Loved ones who have rested asleep in their
                                    graves will be called back to life to join us in
                                    our new home in a perfect world — a world
                                    free from pain, suffering and death. We do
                                    not know all the details about heaven, but we
                                    believe it is a very real place: a place where
                                    people from every generation, every culture
                                    and every nation on earth will experience
                                    everlasting life, love and joy in fellowship with
                                    one another and with our wonderful Lord.
                                    (Acts 1:11; Revelation 1:7; 1 Thessalonians 4:16-
                                    17; Revelation 21:3-4)




                        EXHIBIT I
                                                                        I-8
                    EXHIBIT I
         Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 9 of 10

Seventh-day Adventists
and Health
In 1866, Adventist pioneers established the
Western Health Reform Institute, the church’s
first medical institution. The Battle Creek,
Michigan, facility offered the best medical
treatment of the day, with an emphasis on
preventing disease through lifestyle changes
such as nutrition, exercise and cleanliness.
Early Adventist medical reformers insisted on
providing whole person care, which included
physical, mental and spiritual healing. At this
facility, each person was valued as a child of
God, which led caregivers to provide a positive
healing environment and extraordinary patient
care.

Soon similar centers were established across the
United States and throughout the world. One
of these was Loma Linda University Medical
Center, founded in 1905. Today, Seventh-
day Adventist hospitals, clinics and other
healthcare facilities extend their circle of care
and friendship to all, without regard to religious
affiliation. Doctors, employees, volunteers and
others who help fulfill the mission of Adventist
healthcare represent a wide diversity of religions
and cultures.




                                                 EXHIBIT I
                                                                     I-9
                                                         EXHIBIT I
                   Case 1:23-cv-00688-CKK Document 6-10 Filed 03/21/23 Page 10 of 10




      If you would like to learn
      more about Seventh-day
      Adventist beliefs and lifestyle,
      please contact:
      Campus Ministries
      909-558-8348

      Chaplain Services
      909-558-4367

      Employee Spiritual Care
      909-558-7261

      Center for Spiritual Life and Wholeness
      909-558-7786

      Your questions are always welcome.

      Loma Linda University Health is a not-for-profit
      health and education system founded on the
      Seventh-day Adventist heritage of Christian
      healthcare.

      For more information, visit www.lluhealth.org

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                                                                                   Photographers:

                                                         EXHIBIT I
                                                                                                      I-10
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